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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

CIBC Bank USA
                                             Plaintiff,
v.                                                           Case No.: 1:18−cv−03964
                                                             Honorable John Z. Lee
JH Portfolio Debt Equities, LLC, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 19, 2018:


       MINUTE entry before the Honorable John Z. Lee: In light of the joint stipulation
of dismissal [59], Plaintiff's motion to dismiss Defendants' counterclaims [43] is stricken
as moot.Mailed notice(ca, )




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